                                          Case 4:21-cv-07740-YGR Document 13 Filed 11/22/21 Page 1 of 1



                                                                       UNITED STATES DISTRICT COURT
                                   1                                 NORTHERN DISTRICT OF CALIFORNIA
                                   2

                                   3     MALAKA SANDERS,                                    CASE NO. 4:21-cv-07740-YGR
                                   4                    Plaintiff,                          ORDER RE: THIRD MOTION FOR ENTRY OF
                                                                                            DEFAULT
                                   5              vs.
                                                                                            Dkt. No. 12
                                   6     DEPARTMENT OF FAIR EMPLOYMENT AND
                                         HOUSING
                                   7
                                                        Defendant.
                                   8

                                   9          The Court has reviewed plaintiff’s third motion for entry of default. (Dkt. No. 12.)

                                  10   Plaintiff has still not demonstrated that she served the Department of Fair Employment and

                                  11   Housing and has made no attempt to properly serve the Department in light of the Court’s

                                  12   guidance concerning proper service. (Dkt. Nos. 9, 11.) Therefore, the Court DENIES plaintiff’s
Northern District of California
 United States District Court




                                  13   third motion for entry of default.

                                  14          Plaintiff’s motion also requests that the Court direct the United States Marshal to serve her

                                  15   summons that identifies the California Attorney General. Pursuant to Federal Rule of Civil

                                  16   Procedure 4(c)(3), “[a]t the plaintiff’s request, the court may order that service be made by a

                                  17   United States marshal or deputy marshal or by a person specially appointed by the court. The

                                  18   court must so order if the plaintiff is authorized to proceed in forma pauperis under 28 U.S.C.

                                  19   §1915 or as a seaman under 28 U.S.C. §1916.” Since plaintiff is not proceeding in forma

                                  20   pauperis, use of the United States Marshal is discretionary. Service through the United States

                                  21   Marshal would be ineffective because plaintiff has still not corrected her summons to be served on

                                  22   the Department as previously ordered. Therefore, the Court DENIES plaintiff’s request.1

                                  23          This Order terminates Docket Number 12.

                                  24          IT IS SO ORDERED.

                                  25   Dated: November 22, 2021
                                                                                        _______________________________________
                                  26                                                            YVONNE GONZALEZ ROGERS
                                                                                           UNITED STATES DISTRICT COURT JUDGE
                                  27

                                  28          1
                                                  The Court reiterates its recommendation that plaintiff consult with the Legal Help Desk.
